




NO









NO. 12-10-00183-CR

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; IN
THE COURT OF APPEALS

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; TWELFTH
COURT OF APPEALS DISTRICT

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; TYLER, TEXAS

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EX
PARTE: JAMES WESLEY SHERRILL ,&nbsp; '&nbsp;&nbsp;&nbsp;&nbsp; ORIGINAL
PROCEEDING

RELATOR

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MEMORANDUM
OPINION

PER
CURIAM

Appellant
James Wesley Sherrill attempts to appeal the trial court’s denial of his
application for writ of habeas corpus.&nbsp; 

On
June 17, 2010, this court notified Appellant, pursuant to Texas Rule of
Appellate Procedure 37.2, that the information received in this appeal does not
contain a final judgment or other appealable order.&nbsp; Appellant was further
informed that the appeal would be dismissed if the information received in the
appeal was not amended on or before July 19, 2010 to show the jurisdiction of
this court.&nbsp; That deadline has now passed, and Appellant has not furnished this
court with a final judgment or other appealable order.&nbsp; 

Without
a final judgment or other appealable order, this court has no jurisdiction of
the appeal.&nbsp; Accordingly, the appeal is dismissed for want of
jurisdiction.&nbsp; See Tex. R.
App. P. 37.1, 42.3.

Opinion delivered July 21, 2010.

Panel consisted of
Worthen, C.J., Griffith, J., and Hoyle, J.

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(DO NOT PUBLISH) 





